        Case 2:09-cr-20133-JWL     Document 1703       Filed 12/02/14    Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 09-20133-17-JWL


Delroy Buckley,

                     Defendant.

                                  MEMORANDUM & ORDER

        This matter is before the court on Mr. Buckley’s pro se motion for appointment of

counsel to assist him in the preparation of a motion to reduce his sentence based on Amendment

782 to the United States Sentencing Guidelines which took effect on November 1, 2014 and

lowers the base offense levels in the Drug Quantity Table. On July 18, 2014, the United States

Sentencing Commission voted to apply the amendment retroactively to those offenders currently

in prison, but with a requirement that the reduced sentences cannot take effect until November 1,

2015.

        The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office

of the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under Amendment 782. The record reflects that Mr. Buckley may be

entitled to have the Federal Public Defender represent him to determine whether Mr. Buckley

qualifies for relief under the amendment. In light of these circumstances, the court believes that

the most efficient way to resolve Mr. Buckley’s motion is to forward Mr. Buckley’s motion
     Case 2:09-cr-20133-JWL       Document 1703       Filed 12/02/14    Page 2 of 2




(along with a copy of this order) to the Office of the Federal Public Defender for an initial

determination of whether Mr. Buckley qualifies for representation and is entitled to a reduction

in his sentence in light of the amendment. In the meantime, the court will deny Mr. Buckley’s

motion without prejudice to refiling the motion on or after February 2, 2015 if the Office of the

Public Defender declines to seek relief for Mr. Buckley under Amendment 782.



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Buckley’s motion for

appointment of counsel (doc. 1699) is denied without prejudice to refiling on or after February

2, 2015.



      IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Mr. Buckley’s pro se motion for appointment of counsel.



      IT IS SO ORDERED.



      Dated this 2nd day of December, 2014, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




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